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                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION
 LEE MOULTRY,                                     }
                                                  }
        Plaintiff,                                }
                                                  }
 v.                                               }    Case No.: 2:18-CV-394-RDP
                                                  }
 TONY SERRA FORD, INC., et al.,                   }
                                                  }
        Defendants.                               }


                                 MEMORANDUM OPINION

       This case is before the court following a bench trial conducted on April 16, 2019 to

determine whether the parties executed an enforceable arbitration agreement. After careful review

of all record evidence and testimony, and for the reasons explained below, the court concludes that

Defendant Serra Nissan/Oldsmobile, Inc. (“Serra Nissan/Oldsmobile”) and Defendant Tony Serra

Ford, Inc. (“Tony Serra Ford”) are entitled to compel arbitration as parties to the arbitration

agreement.

I.     Procedural Background

       Plaintiff Lee Moultry initiated this suit on March 13, 2018 to remedy Tony Serra Ford’s

and Serra Nissan/Oldsmobile’s (collectively, “Defendants”) allegedly discriminatory employment

practices under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq., and 42 U.S.C.

§ 1981. (Doc. # 1). Instead of filing an answer, Defendants filed a Motion to Dismiss, Without

Prejudice, or Stay and Compel Arbitration. (Doc. # 5). Specifically, Defendants argued that an

arbitration agreement was contained within Defendants’ online employment application and that

Plaintiff necessarily signed and consented to the agreement when he submitted his application.

(See generally Doc. # 26). Plaintiff countered that neither he nor his fiancée saw any arbitration


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agreement embedded in the employment application, so Plaintiff could not have assented to such

an agreement. (Doc. # 14 at 1-4). Furthermore, Plaintiff claimed that the employment application

that Defendants produced did not reflect his signature. (Id. at 7).

       Because a genuine issue of material fact existed as to whether Plaintiff assented to an

arbitration agreement, the court denied Defendants’ Motion (Doc. # 5) and proceeded to a bench

trial pursuant to 9 U.S.C. § 4 (“If the making of the arbitration agreement or the failure, neglect,

or refusal to perform the same be in issue, the court shall proceed summarily to the trial thereof.”).

See Bazemore v. Jefferson Capital Sys., LLC, 827 F.3d 1325, 1333 (11th Cir. 2016); see also

Chambers v. Groome Transp. of Ala., 41 F. Supp. 3d 1327, 1354 (M.D. Ala. 2014) (setting a bench

trial for an arbitration issue under 9 U.S.C. § 4).

       During the bench trial, Defendants bore the burden to “prove the existence of an agreement

to arbitrate by a preponderance of the evidence.” Tyus v. Virginia College, 2015 WL 4645513, at

*1 (M.D. Ala. Aug. 4, 2015). The court heard testimony from three witnesses: Plaintiff; Roger

Bradford, the Parts and Services Director for Serra Automotive; and Christianna DeRamus,

Plaintiff’s fiancée. The court also accepted into evidence and considered the deposition testimony

of Jesse Rubenstein, a representative of Citrix System, Inc., which provides Defendants with the

RightSignature product that allows applicants to complete and submit job applications online. The

court then ordered additional briefing to address whether Defendants were entitled to enforce the

arbitration agreement contained in the employment application given that Plaintiff applied to work

at a particular dealership that did not ultimately hire him. (Doc. # 46). Upon consideration of all

record evidence and testimony, the court issues the following findings of fact and conclusions of

law.




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II.      Findings of Fact and Conclusions of Law

         The court begins by comparing Plaintiff’s and Defendants’ portrayal of the facts

surrounding the submission of Plaintiff’s employment application containing the arbitration

agreement. The court then summarizes its findings of fact in light of the evidence received during

the bench trial. Finally, the court examines the language of the arbitration agreement and concludes

that both named Defendants, Serra Nissan/Oldsmobile and Tony Serra Ford, are signatories to the

arbitration agreement and are entitled to compel arbitration.

              A. Bench Trial Testimony

         Plaintiff testified during the bench trial that he filled out and submitted only one

employment application on the evening of Sunday, February 14, 2016 while at DeRamus’s

residence. He stated that he used DeRamus’s third generation iPad to review and complete the

entire employment application. However, he denied seeing an arbitration agreement embedded in

the employment application.1 According to Plaintiff, the application consisted of only two pages

that requested general, personal information from the applicant including name, address, contact

information, requested salary, educational background, prior work history, and references. He

filled in his personal information, chose Serra Nissan VW as his preferred employer, then asked

DeRamus to review the application to ensure he completed every field. He claims that at the bottom

of the second page, there was a signature line with a large “X” indicating a place to sign the

electronic document. Plaintiff attempted to sign his name with DeRamus’s Apple pencil, but he




         1
           Significantly, Plaintiff testified in a prior deposition that he recalled reading on Serra Nissan’s website that
Serra Nissan may conduct a motor vehicle check on potential employees. This statement directly conflicts with his
denial of having seen the arbitration agreement because the section warning applicants about Serra Nissan’s right to
conduct a motor vehicle check appears in the middle of the Disclosures and Arbitration Agreement section of the
application.

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was unable to successfully sign. He asked for DeRamus’s help and authorized her to sign and

submit the application on his behalf.

         DeRamus confirmed Plaintiff’s testimony that she helped him review and submit only one

employment application on the evening of Sunday, February 14, 2016. She also claimed that she

saw no arbitration agreement embedded in the employment application. Both Plaintiff and

DeRamus recalled reading below the signature line, “I agree to the Terms of Use, Consumer

Disclosure, and all pages above.” But, they denied seeing the following language appear when

they engaged the signature box: “Signature will be applied to page 4. Review before submitting.”

DeRamus testified that after Plaintiff authorized her to sign and submit the application on his

behalf, she used her left hand to sign “Lee A. Moultry” in a freehand, cursive script. 2 They did

not print the application after submitting it.

         By contrast, Defendants produced two employment applications bearing Plaintiff’s name

that were downloaded from the Citrix System servers. Citrix System is a separate entity that

independently receives and maintains the electronic employment applications submitted through

the RightSignature product on Serra Nissan’s website. Jesse Rubenstein testified in his deposition

that once an employment application is submitted, it is stored in an encrypted fashion on Citrix

System’s servers. (Jesse Rubenstein Deposition, pp. 8-9). Other than downloading the completed

document from Citrix System’s servers, the application cannot be changed or altered by anyone—

including anyone working for Defendants. (Id. at pp. 9, 41, 47, 57).




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           During the bench trial, counsel explained to the court that the signature box in the employment application
presents the applicant with two signature options. The applicant may either (1) freehand sign the name (which is the
default option) or (2) choose to type the name, allowing the program to generate a cursive electronic signature.
DeRamus testified that she operated under the default option and signed Plaintiff’s name in a freehand, cursive script.


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         Although Citrix System’s records show that the two employment applications with

Plaintiff’s name were submitted from the same modem, neither was submitted on Sunday evening.

Indeed, Citrix System has no record of Plaintiff submitting a job application on Sunday. The Citrix

data shows the first employment application was submitted on Monday, February 15, 2016 at 6:33

a.m. PT. (Doc. # 47-1). While this application does not reflect a visible signature, Plaintiff testified

that the personal information matched the information he claims he submitted on Sunday evening.

Defendants claim that the second employment application was submitted later that Monday at 5:27

p.m. PT. (Doc. # 47-1). This second application shows a visible cursive signature reading “Lee a.

Moultry,” but the personal information on the first two pages differs from the first application

submitted earlier that morning. Notably, the second application contains the following material

discrepancies: (1) a requested salary of $17.50 instead of $18; (2) an availability date of 2/16/16

instead of 2/15/16; (3) a contractor, Ronald Worsham, as a personal reference, though Plaintiff and

DeRamus testified that they did not know anyone by that name; and (4) Christianna DeRamus was

categorized as Plaintiff’s financial advisor instead of his friend. (Doc. # 47-4).3

         Plaintiff further testified that he has no recollection of submitting two different

applications, and he disputes the authenticity of the two produced applications. In particular,

Plaintiff maintains that the signature on the second application is not his signature because (1) he

witnessed DeRamus sign his name “Lee A. Moultry,” and further, (2) he never signs his name with

a lowercase middle initial.




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            Plaintiff’s counsel accounted for these differences by arguing that Defendants could have altered the
information on his employment application after receiving it in PDF form. The court is unpersuaded by this theory.
Indeed, it strains logic. Counsel could not articulate any potential motive Defendants would have to either change the
information in Plaintiff’s employment application or submit a new application in his name with slightly different
information. A much more likely explanation is that Plaintiff (or DeRamus) submitted a second application.

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       Bradford testified that he oversees eleven dealerships in his capacity as the Parts and

Services Director for Serra Automotive. He recounted meeting Plaintiff at the Serra Nissan store

on Saturday, February 13, 2016, while Plaintiff was waiting for an oil change. Bradford testified

that Plaintiff expressed interest in applying for a job as an auto technician, so Bradford advised

him to apply online at serranissan.com. After he received Plaintiff’s application from Human

Resources at Serra Automotive, he offered Plaintiff a job at Tony Serra Ford in Talladega. At the

time, no positions were available at Plaintiff’s desired location, Serra Nissan VW. Bradford also

clarified that there is no separate Oldsmobile dealership, and to the best of his knowledge, the

Nissan store and the Volkswagen store are one corporate entity.

            B. Findings of Fact

       After hearing the testimony at the bench trial, assessing the witnesses’ credibility, and

observing a live demonstration of how an employment application is submitted on Defendants’

website, the court credits Defendants’ framing of the facts and concludes that (1) the employment

application contained an arbitration agreement on the last two pages of the employment

application, which Plaintiff would have seen had he scrolled to the bottom of the document (or, at

a minimum, was responsible for reviewing before signing and submitting the application); and (2)

either Plaintiff or DeRamus (with Plaintiff’s authorization) submitted two employment

applications in Plaintiff’s name and (at least) signed the second application. The court makes the

following additional findings of fact.

       1.      On Saturday, February 13, 2016, Plaintiff and DeRamus visited the Serra Nissan

dealership located at 1500 Center Point Parkway, Birmingham, Alabama, 35215. While waiting

for an oil change, Plaintiff spoke with Bradford about applying for an auto technician job.




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Although they did not discuss Plaintiff’s background or qualifications, Bradford directed him to

go to the Serra Nissan website and submit an employment application.

       2.      Serra Nissan contracts with Citrix System for the use of its RightSignature product,

which allows for documents to be completed, signed, and submitted electronically. (Jesse

Rubenstein Deposition, pp. 5-6). Defendants used this product on serranissan.com to create an

online platform for applicants to fill out and electronically submit employment applications.

       3.      Citrix System keeps records of all account activity that occurs through the

RightSignature program on Serra Nissan’s website. (Jesse Rubenstein Deposition, pp. 10-13). The

system records when a document is created, viewed, signed, or completed. (Id.).

       4.      On Sunday, February 14, 2016, Plaintiff used DeRamus’s third generation iPad to

visit the serranissan.com website while at her residence. The Citrix System account activity records

for Serra Nissan’s RightSignature account show that Plaintiff viewed the application at 10:08 a.m.

PT. (Doc. # 47-1 at 13).

       5.      At the time Plaintiff visited the serranissan.com website, there was a RightSignature

box containing an electronic job application. The application consisted of four pages and allowed

the applicant to scroll to the bottom of the application. The top portion of the application directed

the applicant, “Before proceeding, please review the Terms of Use and Consumer Disclosure.”

Below two fields requiring the applicant’s name and email address, there were three links to the

Terms of Use, Consumer Disclosure, and Privacy Policy. None of these links included an

arbitration agreement.

       6.      Directly below these links, the application read, “Serra Automotive Group

Employment Application.” The first two pages required the applicant to fill out general

information including name, address, contact information, requested salary, educational



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background, prior work history, and references. The application indicated the required fields to be

completed in red. When an applicant typed in the required field, the indication changed to green.

       7.      Plaintiff filled out the application at DeRamus’s residence in her presence and using

her third generation iPad.

       8.      The application allowed an applicant to specify which dealership he or she

preferred to work at. The application stated: “What dealership are you applying to (Serra Nissan

VW, Serra Visser Nissan, Ford)?” Plaintiff chose the Serra Nissan VW option.

       9.      The application also asked, “Have you ever worked for this company?”

       10.     Pages three and four of the application contained the Disclosures and Arbitration

Agreement section. This section was visible to any applicant who scrolled down to the bottom of

the application.

       11.     The arbitration agreement identified “the Company (or its owners, employees,

agents, directors, and officers)” as a party to the agreement, but it did not define which business

entity or entities formed “the Company.”

       12.     Pages three and four of the application contained the following language:

       I agree that any dispute or controversy between me and the Company (or its owners,
       employees, agents, directors, and officers), which is subject to arbitration under the
       Federal Arbitration Act (“FAA”) and which would otherwise require or allow resort
       to any court or other governmental dispute resolution forum, arising from, related
       to, or having any relationship or connection whatsoever with my seeking
       employment with, my employment by, or my other association with the Company,
       whether based in tort, contract, statutory or equitable law, or otherwise, specifically
       including but not limited to any and all matters arising under the Constitutions of
       the United States or Alabama, any claims for employment discrimination or
       harassment based on race, color, sex, age, religion, national origin, or disability,
       and any other federal or Alabama personal injury, civil rights, or employment
       related laws, regulations, rules or theories, shall be submitted to, and determined
       by, binding arbitration under the FAA, in conformity with the rules of the American
       Arbitration Association for the resolution of employment disputes.




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       13.     The arbitration agreement also contained a section entitled “MOTOR VEHICLE

RECORD CHECK.” However, this section did not refer to “the Company.” Instead, it stated, “I

hereby give my permission for the Serra Dealership, where I applied for employment” to run a

motor vehicle record check.

       14.     Contrary to Plaintiff’s assertion, pages three and four were visible to him when he

filled out the employment application. He either saw the information and is now denying he did

so, neglected to scroll down to the bottom of the application, or does not remember seeing the last

two pages. The court makes this finding for a number of reasons, including: its assessment of the

credibility of the witnesses; Bradford’s sworn testimony confirming that as of May 1, 2018, the

online employment application available at serranissan.com was the same as when Plaintiff applied

in February 2016; counsel’s live demonstration of the submission of an employment application

on Defendants’ website; the fact that documents submitted to Citrix are not subject to revisions by

Defendants; and the deposition testimony of Jesse Rubenstein confirming that the Disclosures and

Arbitration Agreement portion constituted the last two pages of the documents that were uploaded

to Citrix System’s servers.

       15.     At the bottom of the application, there was a signature box with a large “X”

indicating a place for the applicant to sign his or her name. The language, “I agree to the Terms of

Use, Consumer Disclosure, and all pages above,” appeared below the signature line. When an

applicant engaged the signature box, the following language appeared: “Signature will be applied

to page 4. Review before submitting.”

       16.     While attempting to sign his name in this box, Plaintiff could not get DeRamus’s

Apple pencil to work. Plaintiff asked DeRamus if she could get the pencil to work and authorized

her to sign his name for him. DeRamus signed Plaintiff’s name at his request and in his presence.



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         17.      Plaintiff did not submit an employment application on Sunday, February 14, 2016.

Citrix System has no record of Plaintiff submitting an application on Sunday night. As noted

above, the records show that Plaintiff only viewed the application on Sunday morning. (Doc. # 47-

1 at 13). For whatever reason, the application was not submitted (or, at least, not uploaded) that

day.

         18.      On the morning of Monday, February 15, 2016, Plaintiff submitted his first

employment application at 6:33 a.m. PT. (Id.). This application does not contain a visible

signature.4 (Doc. # 47-5). At 8:34 a.m. PT, Citrix Systems and/or RightSignature emailed a link to

an employment application submitted by Plaintiff to manager@serranissan.com. (Doc. # 47-6).

The reference number for the employment application contained within the email matches the

reference number on the RightSignature Signature Certificate on the last page of the employment

application. (Docs. # 47-6; 47-5 at 5).

         19.      Plaintiff submitted a second employment application on Monday, February 15,

2016 at 5:27 p.m. PT. (Doc. # 47-1). This second application contains a visible cursive signature,

reading “Lee a. Moultry.” (Doc. # 47-7). At 7:27 p.m. PT, Citrix Systems and/or RightSignature

emailed a link to an employment application submitted by Plaintiff to manager@serranissan.com.

(Doc. # 47-8). The reference number for the employment application contained within the email

matches the reference number on the RightSignature Signature Certificate on the last page of the

employment application. (Docs. # 47-8; 47-6 at 5).




         4
           During his deposition, Rubenstein testified that although RightSignature does not allow an application to
be submitted unless it is electronically signed, the product can pick up anything it views as a signature even though
the application does not show a visible electronic signature—even a stray mark. (Jesse Rubenstein Deposition, pp. 18,
34, 45, 56-57). The court is persuaded that this is likely why Plaintiff’s first application does not reflect a visible
signature.

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       20.      Either Plaintiff or DeRamus (who was fully authorized to do so by Plaintiff) signed

the second employment application.

       21.      The Citrix System records show that both employment applications were submitted

from the same IP address and modem. (Doc. # 47-1; Jesse Rubenstein Deposition, p. 58).

       22.      Once an employment application is submitted online through RightSignature, it is

stored in an encrypted fashion on Citrix System’s servers. (Jesse Rubenstein Deposition, pp. 8-9).

Other than downloading the completed document from Citrix System’s servers, the application

cannot be changed or altered by anyone after it is submitted—including anyone working for

Defendants. (Id. at pp. 9, 41, 47, 57).

       23.      When Defendants hired Plaintiff, there were no jobs available at Serra Nissan VW.

So, Bradford hired Plaintiff to work for Tony Serra Ford. Plaintiff was later transferred to Serra

Nissan/Oldsmobile.

             C. Conclusions of Law

       The Federal Arbitration Act (FAA) provides that a written agreement to arbitrate “shall be

valid, irrevocable, and enforceable, save upon such grounds as exist at law or in equity for the

revocation of any contract.” 9 U.S.C. § 2. “This provision ‘reflect[s] both a liberal federal policy

favoring arbitration, and the fundamental principle that arbitration is a matter of contract.’”

Inetianbor v. CashCall, Inc., 768 F.3d 1346, 1349 (11th Cir. 2014) (quoting AT&T Mobility LLC

v. Concepcion, 131 S. Ct. 1740, 1745 (2011)). In fact, the policy favoring arbitration is so strong

that any doubts surrounding the arbitrability of the dispute must be resolved in favor of arbitration.

See Moses H. Cone Mem’l Hosp. v. Mercury Costr. Corp., 460 U.S. 1, 25 (1983). That being said,

the FAA “does not require parties to arbitrate when they have not agreed to do so.” Wheat, First




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Sec., Inc. v. Green, 993 F.2d 814, 817 (11th Cir. 1993) (quoting Volt Info. Sciences, Inc. v. Bd. of

Trustees of Stanford Univ., 489 U.S. 468, 478 (1989)).

       Under Alabama law, “a party seeking to compel arbitration must prove (1) the existence of

a contract containing an arbitration agreement and (2) that the underlying contract evidences a

transaction affecting interstate commerce.” King v. Cintas Corp., 920 F. Supp. 2d 1263, 1267

(N.D. Ala. 2013) (citing Allied Williams Co., Inc. v. Davis, 901 So.2d 696, 698 (Ala.2004)).

Because Plaintiff does not dispute that his employment as an auto technician involved servicing

automobiles at the subject dealerships, this qualifies as a transaction affecting interstate commerce.

As such, the court’s analysis focuses solely on the first element. And, whether an agreement to

arbitrate exists is “simply a matter of contract.” Bazemore, 827 F.3d at 1329 (quoting First Options

of Chicago, Inc. v. Kaplan, 514 U.S. 938, 943 (1995)). The elements of a valid contract include

“an offer and an acceptance, consideration, and mutual assent to the terms essential to the

formation of a contract.” Shaffer v. Regions Financial Corp., 29 So. 3d 872, 880 (Ala. 2009).

       Plaintiff contests the validity of the arbitration agreement on two grounds. First, he asserts

that he never saw, signed, or agreed to any arbitration agreement contained within the employment

application. Second, he argues that even if he assented to an arbitration agreement, Defendants

cannot compel him to arbitrate his claims because neither entity is a party to the agreement. Upon

consideration of the factual findings above, the court addresses each argument in turn and

concludes that (1) Plaintiff assented to the arbitration agreement contained within the employment

applications; and (2) Defendant Serra Nissan/Oldsmobile and Defendant Tony Serra Ford are

entitled to enforce the arbitration agreement as parties to the agreement.




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                        i. Plaintiff Assented to the Arbitration Agreement Contained Within the
                           Employment Applications

         Plaintiff’s first argument challenging the validity of the arbitration agreement is easily

resolved in Defendants’ favor, particularly in light of the court’s factual findings above. As

explained earlier, the court concludes that (1) pages three and four of the employment application

on serranissan.com included the Disclosures and Arbitration Agreement section, which Plaintiff

either saw, or at a minimum, would have seen had he scrolled down to the bottom of the

application; and (2) either Plaintiff or DeRamus (with Plaintiff’s authorization) submitted two

employment applications and visibly signed at least the second application in Plaintiff’s name. 5

The court finds that an arbitration agreement was embedded in the employment applications for

the following reasons. First, Bradford has testified that is the case, and the online employment

application available at serranissan.com was the same as when Plaintiff applied in February 2016.

Second, counsel’s live demonstration of the submission of an employment application on

Defendants’ website and Jesse Rubenstein’s deposition testimony that the arbitration agreement

constituted the last two pages of the documents that were uploaded to Citrix System’s servers

support that finding. And, the court is also persuaded by the fact that the two employment

applications were submitted from the same IP address and modem (Doc. # 47-1; Jesse Rubenstein

Deposition, p. 58), and all employment applications submitted to Citrix System’s servers are stored

in an encrypted fashion, meaning that Defendants could not have altered Plaintiff’s applications



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            Because the court concludes that either Plaintiff or DeRamus (with Plaintiff’s authorization) signed at least
the second employment application, the court need not address Plaintiff’s contention that an unsigned arbitration
agreement is unenforceable. However, the court briefly notes that “[t]he Federal Arbitration Act only requires that
there be a written provision in a contract; it does not specify that a party’s assent to the terms of the contract containing
an arbitration provision can be evidenced only by that party’s signature.” Lanier Worldwide, Inc. v. Clouse, 875 So.
2d 292, 296 (Ala. 2003); see also Caley v. Gulfstream Aerospace Corp., 428 F.3d 1359, 1368-69 (11th Cir. 2005).
Also, to the extent Plaintiff argues that the arbitration agreement is unenforceable because Defendants did not sign it,
“[i]t is well settled than an employer signature is not necessary for an arbitration agreement to be valid.” Campbell v.
Pilot Catastrophe Services, Inc., 2010 WL 3306935, at *7 (S.D. Ala. 2010).

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by signing them or otherwise tampering with them. (Jesse Rubenstein Deposition, pp. 8-9, 41, 47,

57). All of these considerations support the court’s findings that there was a visible arbitration

agreement in Defendants’ employment application, and if Plaintiff did not see it, that was because

he ignored it or neglected to scroll to the bottom and read the agreement before signing.

        Furthermore, Plaintiff is bound by the arbitration agreement even if he did not scroll down

and read the entire application. The Alabama Supreme Court has held that “a person who signs a

contract is on notice of the terms therein and is bound thereby even if he or she fails to read the

document.” Locklear Dodge City, Inc. v. Kimbrell, 703 So. 2d 303, 306 (Ala. 1997). The court

reasoned as follows:

        [A party] should not be excused from [his] contractual responsibilities because [he]
        took that risk [of not reading the contract before signing]. To hold otherwise would
        turn the concept of “sanctity of contract” upside down. Allowing parties to avoid
        their contractual obligations by merely claiming that they did not read a contract
        would encourage irresponsibility. Those responsible enough to read their contracts
        would be bound to their terms, while those reckless enough not to read their
        contracts could avoid their terms; in addition to avoiding the contract terms, the
        party who did not read the contract could file a legal action against the other party
        for suppressing something that was stated clearly in the contract. This is too
        perverse a result to contemplate. Moreover, modern society relies on written
        agreements.

Id. As the court noted at the conclusion of the bench trial, Plaintiff is no different than an individual

who signed a written contract without reading the document carefully. In fact, Plaintiff even

received a warning that the employment application contained four pages as soon as he engaged

the signature box: “Signature will be applied to page 4. Review before submitting.” Accordingly,

Plaintiff is bound to comply with the arbitration agreement regardless of his failure to read the

entire application before signing.




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                   ii. Defendants’ Ability to Enforce the Arbitration Agreement

       Finding (in the abstract) that Plaintiff is bound by the arbitration agreement is not enough

to compel arbitration in this case because there is at least a colorable argument that Plaintiff was

not hired to work for the entity he designated on his employment applications—Serra Nissan VW.

Indeed, this would be a straightforward case had Plaintiff ultimately been hired to work at the Serra

Nissan VW dealership. Instead, Plaintiff was first hired by Tony Serra Ford, and was later

transferred to Serra Nissan/Oldsmobile. Defendants argue that because Plaintiff’s Complaint

alleges that Defendants are a single integrated enterprise and/or joint employer, he should be

estopped from now asserting that either one or both Defendants are not parties to the arbitration

agreement. (Doc. # 49 at 3-4). While the court recognizes that Plaintiff has taken what appears to

be inconsistent positions, whether Defendants are “joint employers” for the purposes of Title VII

and Section 1981 is a separate legal question from whether Defendants are parties to the arbitration

agreement. The second inquiry, which now occupies the court’s focus, deals with Plaintiff’s assent

to enter into an arbitration agreement with either one or both parties. Thus, at least at present, the

court is unconcerned by Plaintiff’s “alternative” legal theories.

       With the foregoing in mind, the court ordered supplemental briefing after the bench trial

on two questions: (1) “Whether Serra Nissan/Oldsmobile, Inc. is a separate legal entity from Serra

Nissan VW or simply another dealership under the Serra Nissan VW umbrella or within the same

corporation”; and (2) “Whether the fact that Plaintiff applied to work at the Serra Nissan VW

dealership, but was hired by a different dealership affects the enforceability of the arbitration

agreement with respect to Tony Serra Ford, Inc. and Serra Nissan/Oldsmobile, Inc.” (Doc. # 46).

The court addresses each question in turn.




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                           1. Defendant Serra Nissan/Oldsmobile and Defendant Tony Serra
                              Ford Are Both Parties to the Arbitration Agreement Entitled to
                              Compel Arbitration

       Defendants argue (contrary to Plaintiff’s assertion) that both named Defendants are parties

to the arbitration agreement. (Doc. # 49 at 2-3). Specifically, they assert that although the

arbitration agreement identifies “the Company” as a party to the agreement, a review of the entire

application makes it clear that “the Company” refers to all three dealerships under the Serra

Automotive umbrella—Serra Nissan VW, Serra Visser Nissan, and Tony Serra Ford. (Id.). For the

reasons explained below, the court agrees and concludes that both Defendants may enforce the

arbitration agreement as parties to the agreement.

       Defendants’ argument boils down to a question of contract interpretation. As such, the

court must first look to the plain language of the contract. The agreement’s plain language indicates

that the arbitration agreement is between the applicant and “the Company (or its owners,

employees, agents, directors, and officers).” (Docs. # 47-5; 47-7). Although the arbitration

agreement does not define “the Company,” it does draw a clear distinction between “the Company”

and “the Serra Dealership, where I applied for employment.” (Id.). To be sure, “when any specific

term applies to only the dealership where [Plaintiff] applied for employment…the

application/agreement clearly and unambiguously states so.” (Docs. # 49 at 3; 51 at 4). For

example, the section entitled “MOTOR VEHICLE RECORD CHECK,” provides that “I hereby

give my permission for the Serra Dealership, where I applied for employment” to run a motor

vehicle record check. (Docs. # 47-5; 47-7). By differentiating between “the Company” and “the

Serra Dealership, where I applied for employment,” it is clear that the term “the Company” refers

to Serra Automotive, which encompasses all three dealerships. The fact that Plaintiff selected one

dealership on his employment application does not change the fact that “the Company” refers to



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all three. (Id.). This interpretation is supported by the well-established rule of contract construction

that “where there is choice between a valid construction and an invalid construction the court has

a duty to accept the construction that will uphold, rather than destroy, the contract and that will

give effect and meaning to all of its terms.” Homes of Legend, Inc. v. McCollough, 776 So. 2d 741,

746 (Ala. 2000). Equating “the Company” and “the Serra Dealership, where I applied for

employment” (as Plaintiff invites this court to do) would render the agreement’s use of the term

“Company” meaningless.

       Furthermore, an examination of the entire employment application supports Defendants’

interpretation of the contract. First, to apply to any of the three dealerships (including Serra Nissan

VW and Tony Serra Ford), an applicant must visit serranissan.com to access the employment

application. The top of the application reads, “Serra Automotive Group Employment Application.”

Second, the application then asks the applicant, “What dealership are you applying to? (Serra

Nissan VW, Serra Visser Nissan, Ford)” (emphasis added). Finally, the application also asks,

“Have you ever worked for this company?” (emphasis added). Again, the employment application

itself draws a distinction between the Company and the three dealerships. In sum, the plain

language of the arbitration agreement combined with the language of the employment application

shows that “the Company” encompasses all three dealerships under the Serra Automotive

umbrella, including Serra Nissan VW and Tony Serra Ford. Thus, Defendant Tony Serra Ford (and

Defendant Serra/Nissan Oldsmobile, as explained below) is a party to the arbitration agreement

with the right to enforce arbitration against a signatory.

       The next question is whether the agreement binds Plaintiff as to any of his claims against

“Serra/Nissan Oldsmobile,” since he chose Serra Nissan VW on his employment application. The

court agrees with Defendants that Serra Nissan/Oldsmobile is a party to the arbitration agreement



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because it is not a separate legal entity from Serra Nissan VW. (Doc. # 49 at 11-12). Defendants

have submitted two sworn (and uncontested) declarations from Martin J. Brill, the Secretary for

Serra Nissan/Oldsmobile, Inc. (Docs. # 49-1; 51-2). Brill states as follows:

       Serra Nissan/Oldsmobile, Inc. is not a separate legal entity from Serra Nissan VW.
       Serra Nissan/Oldsmobile, Inc. does business as Serra Nissan VW. Serra Nissan VW
       includes both the Nissan dealership and the VW and/or Volkswagen dealership
       located beside each other on Center Point Parkway. The Nissan store and
       Volkswagen or VW store are not separate legal entities.

(Doc. # 49-1). Brill also attaches to his first declaration a Nissan Dealer Sales & Service Agreement

and a Volkswagen Dealer Agreement, both of which were in effect during the subject time frame.

(Doc. # 49-1 at 3-7). The documents show that at the time Plaintiff submitted his employment

applications, Serra Nissan/Oldsmobile, Inc. was doing business as both Serra Nissan and Serra

Volkswagen. (Id.). Also, the Secretary of State print-out for the 2018 annual report filed by Serra

Nissan/Oldsmobile, Inc. lists as its general business address, “1500 Center Point Pkwy.” (Doc. #

51-1). This is the same address listed on Serra Nissan’s website, www.serranissan.com.

Furthermore, Serra Nissan/Oldsmobile, Inc.’s Jefferson County dealer license shows that it does

business as Serra Nissan Volkswagen at two locations: (1) 1490 Center Point Parkway and (2)

1500 Center Point Parkway. (Doc. # 51-2 at 4-6).

       Plaintiff, on the other hand, argues that (1) Serra Nissan VW is the same entity as Serra

Volkswagen, Inc. and (2) Serra Nissan/Oldsmobile, Inc. is a separate legal entity from Serra Nissan

VW/Serra Volkswagen, Inc. (Doc. # 50 at 3-4). Defendants counter with Brill’s second

declaration, which provides:

       Serra Nissan VW is not the same business entity as Serra Volkswagen, Inc. Serra
       Volkswagen, Inc. was formed in September 1985, as Parkway Volkswagen, Inc.
       and later changed its name to Serra Volkswagen, Inc. Serra Volkswagen, Inc. was
       formed in order to operate a dealership but has not performed any type of business
       since at or around the year 1990, when it filed its last annual report with the



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         Alabama Secretary of State. Serra Volkswagen, Inc. does not generate any revenue
         or income and does not operate a motor vehicle dealership.

(Doc. # 51-2 at 3). Consistent with Brill’s declarations given in his capacity as the Secretary for

Serra Nissan/Oldsmobile, Inc., the court concludes that Serra Nissan/Oldsmobile, Inc. is not a

separate business entity from Serra Nissan VW. Accordingly, Defendant Serra Nissan/Oldsmobile,

along with Defendant Tony Serra Ford, is entitled to compel arbitration of Plaintiff’s claims as a

party to the agreement.6

III.     Conclusion

         After careful consideration, and for the reasons explained above, the court concludes that

Plaintiff consented to binding arbitration of his claims against both named Defendants.

Accordingly, Plaintiff shall proceed to arbitration of his claims against Defendant Serra

Nissan/Oldsmobile and Defendant Tony Serra Ford.

         DONE and ORDERED this June 6, 2019.



                                                      _________________________________
                                                      R. DAVID PROCTOR
                                                      UNITED STATES DISTRICT JUDGE




         6
           Because the court concludes that both named Defendants are parties to the arbitration agreement with the
right to compel arbitration against Plaintiff, the court need not reach Defendants’ alternative arguments relating to
Defendant Tony Serra Ford’s role as a nonsignatory to the agreement.

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